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                     IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION

BRISA RODRIGUEZ                                                       PLAINTIFF

vs.                                No. 5:21-cv-516

TRI-NATIONAL, INC.                                                   DEFENDANT

                              ORIGINAL COMPLAINT

       COMES NOW Plaintiff Brisa Rodriguez (“Plaintiff”), by and through her

attorney Josh Sanford of the Sanford Law Firm, PLLC, and for her Original

Complaint against Tri-National, Inc. (“Defendant”), she does hereby state and

allege as follows:

                          I. PRELIMINARY STATEMENTS

       1.     Plaintiff brings this action under the Fair Labor Standards Act, 29

U.S.C. § 201, et seq. (“FLSA”), for declaratory judgment, monetary and liquidated

damages, interest, and costs and fees, as a result of Defendant’s failure to pay

lawful overtime compensation for hours worked in excess of forty per week.

       2.     Upon information and belief, for at least three years prior to the

filing of this Complaint, Defendant has willfully and intentionally committed

violations of the FLSA as described, infra.

                           II. JURISDICTION AND VENUE

       3.     The United States District Court for the Western District of Texas

has subject matter jurisdiction over this suit under the provisions of 28 U.S.C. §

1331 because this suit raises federal questions under the FLSA.

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      4.     The acts alleged in this Complaint had their principal effect within

the San Antonio Division of the Western District of Texas, and venue is proper in

this Court pursuant to 28 U.S.C. § 1391.

                               III.    THE PARTIES

      5.     Plaintiff is an individual and resident of Bexar County.

      6.     Defendant is a foreign, for-profit corporation.

      7.     Defendant’s registered agent for service is Corporation Service

Company, at 211 East 7th Street, Suite 620, Austin, Texas 78701.

      8.     Defendant, in the course of its business, maintains a website at

https://www.tri-nat.com/.

                        IV.    FACTUAL ALLEGATIONS

      9.     Plaintiff repeats and re-alleges all previous paragraphs of this

Complaint as though fully incorporated in this section.

      10.    Defendant owns and operates a transport and trucking business.

      11.    Defendant employs two or more individuals who engage in

interstate commerce or business transactions, or who produce goods to be

transported or sold in interstate commerce, or who handle, sell, or otherwise

work with goods or materials that have been moved in or produced for interstate

commerce, such as vehicles and fuel.

      12.     Defendant’s annual gross volume of sales made or business done

is not less than $500,000.00 (exclusive of excise taxes at the retail level that are

separately stated) in each of the three years preceding the filing of the Original

Complaint.

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       13.     Defendant participated in the management of Plaintiff’s work,

including setting and enforcing the amount of hours worked and the amount and

manner of compensation paid.

       14.     Defendant dictated, controlled and ratified, both implicitly and

explicitly, the wage and hour practices and all related employee compensation

policies that are at issue in this case.

       15.     Defendant is an “employer” within the meanings set forth in the

FLSA, and was, at all times relevant to the allegations in this Complaint,

Plaintiff’s employer.

       16.     At all times material herein, Plaintiff has been entitled to the rights,

protections and benefits provided under the FLSA.

       17.     Plaintiff was employed by Defendant from February of 2018 until

May of 2021.

       18.     At all relevant times herein, Defendant directly hired Plaintiff to work

at its facilities, paid her wages and benefits, controlled her work schedule, duties,

protocols, applications, assignments and employment conditions, and kept at

least some records regarding her employment.

       19.     Plaintiff worked at Defendant’s location in San Antonio.

       20.     Plaintiff was employed by Defendant as a Driver Recruiter and

Facilitator.

       21.     Defendant paid Plaintiff a salary and classified her as exempt from

the overtime requirements of the FLSA.




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       22.    Plaintiff was primarily responsible for administering driving tests to

Defendant’s drivers.

       23.    Plaintiff did not have the authority to hire or fire other employees.

       24.    Plaintiff’s recommendations as to who should be hired or fired did

not carry any particular weight.

       25.    Plaintiff did not exercise discretion or independent judgment as to

matters of significance.

       26.    Plaintiff’s duties were rote and routine, and she sought input from

her supervisors when her duties were not rote and routine.

       27.    Plaintiff did not manage the enterprise or a customarily recognized

department or subdivision of the enterprise.

       28.    Plaintiff regularly worked in excess of forty hours per week.

       29.    Defendant did not keep track of Plaintiff’s time nor did Defendant

provide a method by which Plaintiff could keep track of her own time.

       30.    Plaintiff generally worked regular business hours, and she was also

required to respond to calls in the evenings and on weekends.

       31.    Defendant did not pay Plaintiff 1.5x her regular rate of pay for hours

worked over 40 per week.

       32.    At all relevant times herein, Defendant has deprived Plaintiff of

overtime compensation for all of the hours she worked over forty per week.

       33.    Defendant knew or showed reckless disregard for whether its

actions violated the FLSA.




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                 V.   CAUSE OF ACTION—VIOLATION OF THE FLSA

           34.    Plaintiff repeats and re-alleges all previous paragraphs of this

Complaint as though fully incorporated in this section.

           35.    Plaintiff asserts this claim for damages and declaratory relief

pursuant to the FLSA, 29 U.S.C. § 201, et seq.

           36.    At all times relevant to this Complaint, Defendant has been

Plaintiff’s “employer” within the meaning of the FLSA, 29 U.S.C. § 203.

           37.    At all times relevant to this Complaint, Defendant has been, and

continues to be, an enterprise engaged in commerce within the meaning of the

FLSA, 29 U.S.C. § 203.

           38.    29 U.S.C. §§ 206 and 207 require any enterprise engaged in

commerce to pay all employees a minimum wage for all hours worked up to 40

each week and to pay 1.5x regular wages for all hours worked over 40 each

week, unless an employee meets certain exemption requirements of 29 U.S.C. §

213 and all accompanying Department of Labor regulations.

           39.    At all times relevant times to this Complaint, Defendant

misclassified Plaintiff as exempt from the overtime requirements of the FLSA.

           40.    Despite the entitlement of Plaintiff to overtime payments under the

FLSA, Defendant failed to pay Plaintiff an overtime rate of 1.5x her regular rate of

pay for all hours worked over 40 each week.

           41.    Defendant’s failure to pay Plaintiff all overtime wages owed was

willful.




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       42.     By reason of the unlawful acts alleged herein, Defendant is liable to

Plaintiff for monetary damages, liquidated damages, and costs, including

reasonable attorneys’ fees, for all violations that occurred within the three years

prior to the filing of this Complaint.

                            VI.     PRAYER FOR RELIEF

       WHEREFORE, premises considered, Plaintiff Brisa Rodriguez respectfully

prays as follows:

       A.      That Defendant be summoned to appear and answer this

Complaint;

       B.      That Defendant be required to account to Plaintiff and the Court for

all monies paid to Plaintiff;

       C.      A declaratory judgment that Defendant’s practices alleged herein

violate the FLSA;

       D.      Judgment for damages for all unpaid overtime wage compensation

owed under the FLSA;

       E.      Judgment for liquidated damages pursuant to the FLSA;

       F.      An order directing Defendant to pay Plaintiff prejudgment interest,

reasonable attorney’s fees and all costs connected with this action;

       G.      For a reasonable attorney’s fee, costs, and interest; and

       H.      Such other relief as this Court may deem just and proper.




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                                 Respectfully submitted,

                                 PLAINTIFF BRISA RODRIGUEZ

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                                 /s/ Josh Sanford
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